             Case 1:19-cr-03113-JB Document 211 Filed 04/30/20 Page 1 of 3



                         IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,

        Plaintiff,

vs.                                                                   NO. 19-CR-3113-JB

ROBERT PADILLA, a.k.a. “Fat Head,”
ROSE ANN ROMERO,
JOHNATHAN VIGIL, a.k.a. “Lil John,”
ROBERT HOCKMAN, a.k.a. “Tony,”
MARCOS RUIZ, a.k.a. “Mark,”
LUIS SANCHEZ, a.k.a. “Payaso,”
ASHLEY ROMERO,
TOMAS SANCHEZ, a.k.a. “T.J.,”
AMANDA SILVA,
SERGIO VALDEZ,
GENEVIVE ATENCIO, and
JANAYA ATENCIO,

        Defendant.

                     STIPULATED MOTION FOR DISCOVERY ORDER

        The Parties jointly move for an Order of the Court under Rule 16(d) of the Federal Rules

of Criminal Procedure which will dictate the use of Computers by the Defendants in custody in

this case.

        1.      All parties agree that the size and various forms of discovery in this case cannot be

properly reviewed by the incarcerated Defendants without the use of a computer which they will

require access to on a regular basis.

        2.      The computers in this case will not allow the Defendants to access any content

outside of what is loading on the computers and restrictions placed on the computers will only

allow them to view/review the discovery received from the Government.
            Case 1:19-cr-03113-JB Document 211 Filed 04/30/20 Page 2 of 3



       3.      At the February 12, 2020 Scheduling Conference in front of this Court, parties

identified the need to craft a discovery order which would cover the use of computers by

Defendants incarcerated in this case.

       4.      This Court having previously dealt with the use of computers by Defendants in

large complex criminal prosecutions, has crafted specific language which has balanced the need

for facilities to periodically check for contraband under specific and limited circumstances and the

Defendants to have access to their discovery on a regular basis. This language had specifically laid

out procedures for seizing computers from Defendants.

       5.      The Government has been contacted and stipulates to the use of computers by the

defense, and the proposed order presented to the court.

       WHEREFORE, Defendants respectfully requests the Court to Enter a Discovery Order

Allowing the use of Computers by Defendants while incarcerated pending trial in this case subject

to any restrictions by this Court.



                                              Respectfully submitted:
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                                              /s/ Joe Romero
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                                              /s/ Ahmad Assed
                                              Ahmad Assed
                                              Attorney for Rose Ann Romero

                                              /s/ Wayne Baker
         Case 1:19-cr-03113-JB Document 211 Filed 04/30/20 Page 3 of 3



                                           Wayne Baker
                                           Attorney for Jonathan Vigil

                                           /s/ Thomas Clark
                                           Thomas Clark
                                           Attorney for Robert Hockman

                                           /s/ Michael Alarid
                                           Michael Alarid
                                           Attorney for Marcos Ruiz

                                           /s/ Greg Acton
                                           Greg Acton
                                           Attorney for Ashley Romero

                                           /s/ Charles Knoblauch
                                           Charles Knoblauch
                                           Attorney for Tomas Sanchez

                                           /s/ Susan Burgess Farrell
                                           Susan Burgess Farrell
                                           Attorney for Amanda Silva

                                           /s/ Philip Sapien
                                           Philip Sapien
                                           Attorney for Sergio Valdez

                                           /s/ Michael Davis
                                           Michael Davis
                                           Attorney for Genevive Atencio

                                           /s/ Jennifer Wernersbach
                                           Jennifer Wernersbach
                                           Attorney for Janaya Atencio


       I HEREBY CERTIFY that on the 30th day of April 2020, I filed the foregoing electronically
through the CM/ECF filing system, which caused all counsel to be served by electronic means.

        /s/ Diego R. Esquibel
            Diego R. Esquibel
